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  Natalie Jean-Baptiste
  2823 Oswego Street
  North Bellmore, NY 11710

  December 12,2013


  Hon. Dorothy Eisenberg
  U.S. Bankruptcy Court
  Eastern District of New York
  Alphonse M. D'Amato US Courthouse
  290 Federal Plaza
  Central Islip, NY 11722

  Re:      lean-Bwtiste v. Educational Cret!it Management Corporation. et al.
          ADV. PRO. NO. 8-13-08129-DTE


  Dear Judge Eisenberg:

  In furtherance of Your Honor's instructions at the Pre-Trial Conference held on
  December 3, 2013, I have submitted the enclosed supporting documents to Kenneth
  Baum, Esq. and Michael McAuliffe, Esq. attorneys for the defendants. The supporting
  documents include a narrative summary from my hematologist, Dr. James D'Olimpio
  along with a portion of my medical record, medical records from my orthopedic
  surgeon, Dr. Marvin Gilbert, partial payment history on the student loans and tax
  returns from the last 3 years.

  I am in the process of retrieving the medical records from my hospital stays at North
  Shore-LIJ, Nassau County Medical Center and Aventura Hospital and will submit
  those records as they become available.

  The Pre-Trial Conference has been adjourned to February 4, 2014 at 2:00pm.

  Thank you for your kind attention to this matter.


  Respectfully,                                                                       ......
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/ t atalie J   -Baptiste                                                          ;f\V
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  Cc: Kenneth Baum, Esq.
      Michael McAuliffe, Esq.
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 No~[·I' 1 Medical
    Shore                r_}   Group
                                October 29, 2013


Monter Cancer Center CONSULTATION:
                     RE: JEAN-BAPTISTE, NATALIE
Department of ~ed~cine    .MJl#: 557638
North Shore Umvers1ty HospltJ·                      ~

Don Monti Division of
Medical Oncology                      Ms. Jean-Baptiste was seen by me for a period of time dating back to
Division of Hematology
                                      2007. I had originally seen her in the hospital during a sickle cell
 DANIEL BUDMAN, M.D., FACP            crisis. She is an attorney in her early 30's with a history of sickle cell
Interim Chief
Division of Hematology-Oncology        SS disease who up to this point in 2007 had a remarkably benign and
VINCENT VINCIGUERRA, M.D., FACP       indolent course, having only been hospitalized ~nee in 6 years fiJr
Tita and Joseph Manti-                 actual sickle cell crisis. Unfortunately, beginning in March of 2007,
Vincent Vinciguerra, M.D.
Professor of Oncology                 this  patient developed multiple complications and crises as a result of
STEVEN L. ALLEN, M.D., FACP           her sickle cell disease, and I saw her on many occasions dating back to
Associate Chief, Hematology           2007; based on my chart notes in excess of 15 visits spanning 2007
JONATHAN KOLITZ, M.D., FACP           through October 21, 2009, which was her last visit, her exit visit, in
Associate Chief, Hematologic Oncology which she informed us that she was going to Florida to move to search
THOMAS BRADLEY, M.D., FACP             for additional employment.
Director, Fellowship Program
LORA WEISELBERG, M.D., FACP            She had been hospitalized with acute chest syndrome secondary to
Chief, Breast Cancer Service
                                       pneumonia, had gotten transfusions with chelation therapy. She was
RUTHEE-LU    BAYER, M.D.
Director, Adult Hematopoeitic         not abl e to do an exchange trans fu ston.   '      Un fiortunate1y sh e has
Stem Cell Transplant Program           developed a significant antibody burden and is unable to receive most
JAMEs T. D'OLIMPio. M.D .. FACP, FAAHPulood that is donated. At the time of her last visit, 10/21 !09, there were
Director,                     ~a~agemenbnly 5 units of blood in the entire country that matched her that could
Program, Pain  and Symptom
          Support1ve  and Pall1at1ve
IULIANA SHAPIRA, M.D.                 be given safely. Nevertheless, she did go to Florida with the
Director, Cancer Genetics Program      expectation of seeking medical care there and had been given some
SCOTT Z. FIELDS, M.D.                  references  along those lines. She was also not interested in receiving
Barbara and Donald Zucker              either Hydrea or Exjade, which is a chelating agent but stated that she
Professor of UroOncology
                                       would think about it at this point. She is known to have secondary iron
Attendings                             overload  as well as a history of acute chest syndrome which standard of
MYRA BARGINEAR, M.D.
JANE CARLETON, M.D.                    care would dictate she would receive Hydrea for this situation. There
KIT CHENG, M.D.
CRAIG DEVOE, M.D.                      has been no contact with her since 2009 but this summary indicates that
LAURA DONAHUE, M.D.                    Ms. Jean-Baptiste has suffered from significant morbidity as a result of
CRISTINA GHIUZELI, M.D.
VEENA JOHN, M.D.                       her sickle cell disease now in her early 30's. The onset of secondary
ALLA KEYZNER, M.D.
JOHNSON UU, M.D.                       hemochromatosis     which is iron overload, in addition to developing
SABEEN MEKAN, M.D.                     acute chest syndrome in her age group, late 20's/early 30's, is a
DORU PAUL, M.D.
HARRY RAFTOPOULOS, M.D.               harbinger of additional toxicities which might disallow a normal type
LINDA RUSSO, M.D.
STEVEN SAVONA, M.D.                    of lifestyle or functionality short of a stem cell transplantation. The
                                       natural history of sickle cell disease in her case is for life expectancy to
                                       only approach mid 40's. Complications include recurrent chest
                                       syndrome, pulmonary hypertension, and sepsis, as well as



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RE: JEANBAPTISTE, NATALIE

complications of secondary iron overload. Unfortunately Ms. Jean-Baptiste manifests all of
these issues and my expectation is that she will need very close follow-up during the course
of her life including the possibility of a stem cell transplant. She is reluctant to use
medication and I have not had a therapeutic discussion with her in 4 years. Nevertheless her
request for me to provide a narrative summary is not unreasonable and the facts in her case
would dictate that she is suffering from complications of sickle cell disease for which there is
no obvious remedy or cure short of a stem cell transplant. I expect her issues to be ongoing
and would be requesting that significant consideration be given to her degree of morbidity
both actual and potenti .
                              I   r




James T. Olimpio, M.D., FACP, FAAHPM
Attending Physician Medical Oncology
Don Monti Division ofMedical Oncology
Director, Supportive/Palliative Oncology Cancer
Pain and Symptom Management Program
Monter Cancer Center/Palliative Medicine
North Shore University Hospital
Assistant Professor of Medicine
Hofstra, LIJ School of Medicine
Gastrointestinal Disease Management Team

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